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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                    Chapter 11

             SEAPLANE DEBTOR 1, INC., et al.,1                         Case No. 24-10703 (CTG)

                                       Debtors.                        (Jointly Administered)

                                                                       Ref. Docket Nos. 542 & 650

                  NOTICE OF DERIVATIVE LITIGATION PLAINTIFFS’ ELECTION UNDER
                            9019 ORDER AND SETTLEMENT TERM SHEET

                PLEASE TAKE NOTICE that, on October 11, 2024, the above-captioned debtors and
         debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order,
         Pursuant to Sections 105(a) and 363(b) of the Bankruptcy Code and Bankruptcy Rule 9019,
         Approving the Settlement Regarding Certain Disputes with the Derivative Litigation Plaintiffs
         [Docket No. 542] (the “9019 Motion”)2 with the United States Bankruptcy Court for the District
         of Delaware (the “Court”). Through the 9019 Motion, the Debtors sought entry of an order
         approving the terms of the settlement in the Claim Assignment Term Sheet (the “Settlement Term
         Sheet”) by and between the Debtors and the Derivative Litigation Plaintiffs.3

                PLEASE TAKE FURTHER NOTICE that, on November 19, 2024, the Court entered an
         order approving the 9019 Motion [Docket No. 650] (the “9019 Order”).

                 PLEASE TAKE FURTHER NOTICE that, pursuant to the 9019 Order and the
         Settlement Term Sheet, the Derivative Litigation Plaintiffs had until November 25, 2024 to elect
         to receive an assignment of the Debtors’ rights and interests in the Derivative Litigation Claims in
         exchange for the Purchase Consideration (the “Derivative Claims Assignment”).

                 PLEASE TAKE FURTHER NOTICE that the Derivative Litigation Plaintiffs have
         elected to effect the Derivative Claims Assignment.


         1
               The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
               number, are: Seaplane Debtor 1, Inc. (f/k/a ICON Aircraft, Inc.) (7443); Seaplane Debtor 2, Inc. (f/k/a IC
               Technologies Inc.) (7918); Seaplane Debtor 3, LLC (f/k/a ICON Flying Club, LLC) (6101); and Seaplane Debtor
               4, LLC (f/k/a Rycon LLC) (5297). The Debtors’ service address is c/o Armanino LLP, 231 Market Place, Suite
               373, San Ramon, CA 94583-4743, Attn: Thomas McCabe, Chief Restructuring Officer.
         2
               Capitalized terms used but not otherwise defined herein shall have their meanings given to them in the 9019
               Motion or Settlement Term Sheet, as applicable.
         3
               As used herein, the term “Derivative Litigation Plaintiffs” has the meaning set forth in the Verified Statement of
               Paul, Weiss, Rifkind, Wharton & Garrison LLP and Landis Rath & Cobb LLP Pursuant to Federal Rule of
               Bankruptcy Procedure 2019 [Docket No. 111].


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         Dated: November 27, 2024
         Wilmington, Delaware

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                             Counsel for the Debtors and Debtors in Possession




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